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                                                     LOCAL BANKRUPTCY FORM 3015-1.1
                                                      United States Bankruptcy Court
                                                                     District of Colorado
 In re    Judith Jean Schneider                                                                         Case No.    17-11810-MER
                                                                              Debtor(s)                 Chapter     13


                                               SECOND AMENDED
                                                CHAPTER 13 PLAN
                        INCLUDING VALUATION OF COLLATERAL AND CLASSIFICATION OF CLAIMS

CHAPTER 13 PLAN: This chapter 13 plan dated *7/24/17 supersedes all previously filed plans.

NOTICE TO CREDITORS: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file an
objection with the bankruptcy court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file
a timely objection, you will be deemed to have accepted the terms of the plan, which may be confirmed without further notice or
hearing.

MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11 U.S.C. § 506 (Check
any applicable box(s)):

                                 This plan contains a motion for valuation of personal property collateral and determination of secured
                                 status under 11 U.S.C. § 506.

                                 The debtor is requesting a valuation of real property collateral and determination of
                                 secured status under 11 U.S.C. § 506 by separate motion. List status of motion here (i.e.. date filed, date
                                 granted, to be filed contemporaneously, etc.)



SECURED CLAIMS SUBJECT TO VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11
U.S.C. § 506 (additional detail must be provided at Part IV of the plan):

Name of Creditor                                                        Description of Collateral (pursuant to L.B.R. 3012-1)
-NONE-

I. BACKGROUND INFORMATION

          A.    Prior bankruptcies pending within one year of the petition date for this case:

Case Number & Chapter                                    Discharge or Dismissal/Conversion                              Date
-NONE-

          B.    The debtor(s):           is eligible for a discharge; or
                                         is not eligible for a discharge and is not seeking a discharge.

          C.    Prior states of domicile:       within 730 days
                                                within 910 days           .

                The debtor is claiming exemptions available in the            X state of CO
                or   federal exemptions .

          D.    The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. § 101(14A). Notice
                will/should be provided to these parties in interest:
                      1. Spouse/Parent
                      2. Government
                      3. Assignee or other
                      The debtor       has provided the Trustee with the address and phone number of the Domestic Support Obligation
                      recipient or     cannot provide the address or phone number because it/they is/are not available.

          E.    The current monthly income of the debtor, as reported on Interim Form B22C is:
                  below     equal to or X above the applicable median income.

                                                                              1
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II. PLAN ANALYSIS

          A.    Total Debt Provided for under the Plan and Administrative Expenses
                  1. Total Priority Claims (Class One)
                             a.    Unpaid attorney's fees                                                           $        4,080.00
                                   Total attorney's fees are estimated to be $ 4,100.00 of which $ 20.00 has been prepaid.
                             b.    Unpaid attorney's costs (estimated)                                              $            0.00
                             c.    Total Taxes                                                                      $       *7,450.95
                                   Federal:          *$7,450.95 ; State:               $0.00
                             d.    Other                                                                            $            0.00
                  2. Total of payments to cure defaults (Class Two)                                                 $      *53,000.81
                  3. Total payment on secured claims (Class Three)                                                  $            0.00
                  4. Total of payments on unsecured claims (Class Four)                                             $            0.00
                  5. Sub-total                                                                                      $      *64,531.76
                  6. Total trustee's compensation (10% of debtor's payments)                                        $       *7,170.12
                  7. Total debt and administrative expenses                                                         $      *71,701.88


          B.    Reconciliation with Chapter 7

                           THE NET PROPERTY VALUES SET FORTH BELOW ARE LIQUIDATION VALUES
                            RATHER THAN REPLACEMENT VALUES. THE REPLACEMENT VALUES MAY
                                                APPEAR IN CLASS THREE OF THE PLAN.
                      1. Assets available to Class Four unsecured creditors if Chapter 7 filed:

                                   a.   Value of debtor's interest in non-exempt property                                       $      3,155.75

            Property                    Value          Less Costs of       Less Liens       X Debtor's         Less      = Net Value
                                                           Sale                              Interest       Exemptions
Cash                                      212.00                  0.00            0.00              100%            0.00       212.00
Checking: Bank of the West              1,400.00                  0.00            0.00              100%            0.00    1,400.00
Checking: Chase                            11.00                  0.00            0.00              100%            8.25         2.75
State: 2013 through 2016                1,541.00                  0.00            0.00              100%            0.00    1,541.00

                              b.  Plus: Value of property recoverable under avoiding powers                               $               0.00
                              c.  Less: Estimated Chapter 7 administrative expenses                                       $             788.94
                              d.  Less: amounts payable to priority creditors other than costs of administration          $          *7,450.95
                              e.  Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if
                                  negative, enter zero)                                                                   $               *0.00
                  2. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan
                     plus any funds recovered from "other property" described in Section III.A.3 below.                   $               *0.00

III. PROPERTIES AND FUTURE EARNINGS SUBJECT TO THE SUPERVISION AND CONTROL OF THE TRUSTEE

          A.    The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other
                future income as is necessary for the execution of the Plan, including:

                     1.   Future earnings of $ *736.07 per month which shall be paid to the trustee for a period of
                          approximately *4 months, beginning 4/8/17 .

                                          Amount                     Number of Months                                                    Total
                                         *1,227.83                         *56                                                      *68,758.48


         One time payment and date

                     2.   Amounts for the payment of Class Five post-petition claims included in above: $    .
                     3.   Other property (specify):

  AT THE TIME THE FINAL PLAN PAYMENT IS SUBMITTED TO THE TRUSTEE, THE DEBTOR SHALL FILE WITH THE COURT
   THE CERTIFICATION REGARDING DOMESTIC SUPPORT OBLIGATIONS REQUIRED BY 11 U.S.C. § 1328(a) AND, IF NOT
 ALREADY FILED, INTERIM FORM B23 REGARDING COMPLETION OF FINANCIAL MANAGEMENT INSTRUCTION REQUIRED


                                                                            2
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                                                                BY 11 U.S.C. § 1328(g)(1).

          B.    The debtor agrees to make payments under the Plan as follows:

            VOLUNTARY WAGE ASSIGNMENT TO EMPLOYER:
          Employer's Name, address, telephone number:




OR

                         DIRECT PAYMENT: from debtor to Trustee

Paid in the following manner:
$     to be deducted     (weekly, monthly, per pay period, etc.)

IV. CLASSIFICATION AND TREATMENT OF CLAIMS

CREDITOR RIGHTS MAY BE AFFECTED. A WRITTEN OBJECTION MUST BE FILED IN ORDER TO CONTEST THE TERMS OF
THIS PLAN. CREDITORS OTHER THAN THOSE IN CLASS TWO A AND CLASS THREE MUST FILE TIMELY PROOFS OF CLAIM
IN ORDER TO RECEIVE THE APPLICABLE PAYMENTS.

          A.    Class One -- Claims entitled to priority under 11 U.S.C. § 507. Unless other provision is made in paragraph V.(C),
                each creditor in Class One shall be paid in full in deferred cash payments prior to the commencement of distributions to
                any other class (except that the payments to the Trustee shall be made by deduction from each payment made by the
                debtor to the Trustee) as follows:

           1. Allowed administrative expenses
               (a) Trustee's compensation (10% of amounts paid by debtor under this Plan)                                     $         *7,170.12
               (b) Attorney's Fees (estimated and subject to allowance)                                                       $          4,080.00
               (c) Attorney's Costs (estimated and subject to allowance)                                                      $              0.00

           2. Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 (if none,
           indicate)                                                                                                          $       *$7,450.95

               (a)    Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to
                      distribute amounts provided by the plan.

                                Priority support arrearage: Debtor owes past due support to        in the total amount of $       that will be paid
                                as follows:

                                [ ]       Distributed by the Trustee pursuant to the terms of the Plan; or

                                [ ]       Debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or
                                          J) in the amount of $      to   . Of that monthly amount, $ is for current support payments and
                                          $      is to pay the arrearage.

Other:     For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court and submit to
           the Trustee an update of the required information regarding Domestic Support Obligations and the status of required
           payments.

                b.   Federal Taxes                                                                                  $                   *7,450.95
                c.   State Taxes                                                                                    $                        0.00
                d.   Other Taxes (describe):                                                                        $                        0.00
                e.   Other Class One Claims (if any) (describe):                                                    $                        0.00
                                None




                                                                            3
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           B.    Class Two -- Defaults

           1.        Class Two A (if none, indicate) -- Claims set forth below are secured only by an interest in real property that is the
                     debtor's principal residence located at 4316 East 113th Place Thornton, CO 80233 Adams County. Defaults shall be
                     cured and regular payments shall be made:


           [ ]       None

                                                                                                                                  Regular Payment
                                                                                                                    per month (i.e. month, week,
                                               Total Default                        Total Amount       No. of          etc.) to be Made Directly to
                                              Amount to be           Interest             to Cure   Months to            Creditor and Date of First
Creditor                                             Cured1            Rate            Arrearage        Cure                               Payment
Adams County Treasurer                             *2,206.01             *12%           *2,206.01          *49                            *2,478.17
                                                                                                                                             06/2018
Citifinancial                                     *41,160.27               0%          *41,160.27          *49                             1,103.59
                                                                                                                                               4/1/17
Real Time Resolutions Inc.                          8,845.20               0%            8,845.20          *49                                    n/a
                                                                                                                 Final payment is due during the
                                                                                                                 plan, and the plan provides for
                                                                                                                 payment of the claim in full.


           2.        Class Two B (if none, indicate) -- Pursuant to 11 U.S.C. §1322(b)(5), secured (other than claims secured only by an
                     interest in real property that is the debtor's principal residence) or unsecured claims set forth below on which the last
                     payment is due after the date on which the final payment under the Plan is due. Defaults shall be cured and regular
                     payments shall be made:

           [X]       None

                                                                                                                              Regular Payment per
                                                                                                 Total                   month (i.e. month, week,
                                                            Total Default                   Amount to    No. of        etc.) to be Made Directly to
                                                              Amount to Interest                 Cure Months to         Creditor and Date of First
Creditor                              Collateral              be Cured2 Rate                Arrearage     Cure                           Payment


           3.        Class Two C - Executory contracts and unexpired leases are rejected, except the following which are assumed:


                     None

                                                                                                                                 Regular Monthly
                                                                                                                           Payment Made Directly
Other Party to Lease or               Property, if any, Subject to the                Total Amount to    No. of Months     to Creditor and Date of
Contract                              Contract or Lease                                   Cure, if any          to Cure                  Payment

IN THE EVENT THAT DEBTOR REJECTS THE LEASE OR CONTRACT, CREDITOR SHALL FILE A PROOF OF CLAIM OR
AMENDED PROOF OF CLAIM REFLECTING THE REJECTION OF THE LEASE OR CONTRACT WITHIN 30 DAYS OF THE
ENTRY OF THE ORDER CONFIRMING THIS PLAN, FAILING WHICH THE CLAIM MAY BE BARRED.




1
    The lesser of this amount or the amount specified in the Proof of Claim.
2
    The lesser of this amount or the amount specified in the Proof of Claim.

                                                                                4
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          C.    Class Three -- All other allowed secured claims (other than those designated in Classes Two A and Two B above) shall
                be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

                     1.        Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with FED. R. BANKR. P. 3012,
                     7004 and L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and
                     determination of secured status under 11 U.S.C. § 506 as to the real property and claims listed on page 1 of this plan
                     and below. The plan is subject to the court’s order on the debtor’s motion. If the court grants the debtor’s motion, the
                     creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of claim,
                     including such claims filed within thirty days from entry of an order determining secured status under FED. R.
                     BANKR. P. 3002(c)(1) and (3). The creditors listed on page 1 and below shall retain the liens securing their claims
                     until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible for a discharge, upon the debtor’s successful
                     completion of all plan payments and the closing of the case.

                                None

                                            Description of Collateral           Amount of Debt
       Name of Creditor                    (pursuant to L.B.R. 3012-1)           as Scheduled                  Proof of Claim amount, if any

                     2.       Secured claims subject to 11 U.S.C. § 506 (Personal Property): The debtor moves the court, through this
                     chapter 13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the
                     personal property and claims below. The following creditors shall retain the liens securing their claims until discharge
                     under 11 U.S.C. § 1328 or payment in full under nonbankruptcy law.


                                None


                     (a) The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed
                     claim shall be treated as a general unsecured claim.

       Creditor             Description of Collateral            Confirmation    Amount of         Interest      Adequate       Total Amount
                                                                   Value of       Debt as            Rate        Protection       Payable
                                                                  Collateral     Scheduled                        Payment

                     (b) The following creditors shall be paid the remaining balance payable on the debt over the period required to pay
                     the sum in full.

       Creditor             Description of Collateral            Confirmation    Amount of         Interest      Adequate       Total Amount
                                                                   Value of       Debt as            Rate        Protection       Payable
                                                                  Collateral     Scheduled                        Payment

                     If adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated
                     above until such time that superior class creditors are paid in full. Any adequate protection payments made will be
                     subtracted from the total amount payable. Unless otherwise provided, adequate protection payments will accrue from
                     the date of filing but will not be made until the creditor has filed a proof of claim.

                     3.        Secured claims to which 11 U.S.C. § 506 shall not apply (personal property). The following creditors
                     shall retain the liens securing their claims, and they shall be paid the amount specified which represents the
                     remaining balance payable on the debt over the period required to pay the sum in full:

                                None




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                                                                          Amount of Debt as
Creditor                              Description of Collateral                 Scheduled           Interest Rate         Total Amount Payable

                     4.        Property being surrendered: The debtor surrenders the following property securing an allowed secured
                     claim to the holder of such claim:


                                None

Creditor                                              Property                                      Anticipated Date of Surrender

                     Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed
                     granted by the Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on
                     the creditor's claim shall be made unless that creditor files a proof of claim or an amended proof of claim to take into
                     account the surrender of the property.

IF DEBTOR IS PROPOSING TO MODIFY THE RIGHTS OF CREDITORS IN CLASS TWO AND/OR THREE, DEBTOR MUST
SPECIFICALLY SERVE SUCH CREDITOR IN THE MANNER SPECIFIED IN FED. R. BANKR. P. 9014 AND 7004.


          D.    Class Four -- Allowed unsecured claims not otherwise referred to in the Plan. Class Four Claims are provided for in
                an amount not less than the greater of:

          1.         The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part II;
                     or
          2.         Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325 (b)(1)-(4).

                     The monthly disposable income of $ -135.84 has been calculated on Form B22C (Chapter 13). Total disposable
                     income is $ -8,150.40 which is the product of monthly disposable income of -135.84 times the applicable
                     commitment period of 60 months .

                     a.   [ X ] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment
                                by the Trustee of all prior classes; or

                                A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523 (a)(2), (4), or
                                (6), will share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is
                                dismissed, converted to a Chapter 7 or discharge enters , unless ordered otherwise.

                     b.   [ ] Class Four claims are divided into more than one class as follows:


                          A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523 (a)(2), (4), or (6), will
                          share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is dismissed,
                          converted to a Chapter 7 or discharge enters , unless ordered otherwise.

          E.    Class Five (if none, indicate) -- Post-petition claims allowed under 11 U.S.C. § 1305. Post-petition claims allowed
                under 11 U.S.C. § 1305 shall be paid as follows:

          [X]        None

V. OTHER PROVISIONS

          A.    Payment will be made directly to the creditor by the debtor(s) on the following claims:

                                                                                                       Monthly Payment             No. of Months
Creditor                                             Collateral, if any                                         Amount                  to Payoff
-NONE-

          B.    The effective date of this Plan shall be the date of entry of the Order of Confirmation.




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          C.    Order of Distribution:

          1.         [ X ] The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13 Trustee's fee
                     shall be paid up to, but not more than, the amount accrued on actual payments made to date. After payment of the
                     Class One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class Two B and Class Two C
                     creditors shall be paid in full before distributions to creditors in classes Three, Four, and Five (strike any portion of this
                     sentence which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in full before
                     distributions to creditors in classes Four and Five. Distributions under the plan to unsecured creditors will only be
                     made to creditors whose claims are allowed and are timely filed pursuant to Fed.R.Bankr.P. 3002 and 3004 and after
                     payments are made to Classes One, Two A, Two B, Two C and Three above in the manner specified in Section IV.

          2.         [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:

          D.    Motions to Void Liens under 11 U.S.C. § 522(f). In accordance with Fed.R.Bankr.P. 4003(d), the debtor intends to file,
                or has filed, by separate motion served in accordance with Fed.R.Bankr.P. 7004, a motion to void lien pursuant to 11
                U.S.C. § 522(f) as to the secured creditors listed below:

                                                                                Date Motion to Void Lien               Date of Order Granting
Creditor                                   Collateral, if any                   Filed                                      Motion or Pending
*CVI Loan GT Trust 1                       4316 East 113th Place Thornton,                           *6/22/17                         *7/19/17
                                           CO 80233 Adams County

          E.    Student Loans:

                         No student loans
                         Student loans are to be treated as an unsecured Class Four claim or as follows:

          F.    Restitution:

                         No restitution owed
                         The debtor owes restitution in the total amount of $     which is paid directly to    in the amount of $    per month
                     for a period of     months.
                         The debtor owes restitution to be paid as follows:

          G. Other (list all additional provisions here):


VI. REVESTMENT OF PROPERTY IN DEBTOR

All property of the estate shall vest in the debtor at the time of confirmation of this Plan.

VII. INSURANCE

          Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will [ X ] will not [ ] (check
          one) be obtained and kept in force throughout the period of the Plan.

                                                                                                 Insurance Company, Policy No. and
Creditor to Whom This                                                                  Coverage Agent Name, Address and Telephone
Applies                               Collateral Covered                                 Amount No.
*CVI Loan GT Trust 1                  4316 East 113th Place Thornton, CO                $335,000 State Farm
                                      80233 Adams County
Adams County Treasurer                4316 East 113th Place Thornton, CO                $335,000 State Farm
                                      80233 Adams County
Citifinancial                         4316 East 113th Place Thornton, CO                $335,000 State Farm
                                      80233 Adams County
Real Time Resolutions Inc.            4316 East 113th Place Thornton, CO                $335,000 State Farm
                                      80233 Adams County

          [ X ] Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.


VIII. POST-CONFIRMATION MODIFICATION

The debtor must file and serve upon all parties in interest a modified plan which will provide for allowed priority and allowed secured

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claims which were not filed and/or liquidated at the time of confirmation. The value of property to satisfy 11 U.S.C. § 1325(a)(4) may be
increased or reduced with the modification if appropriate. The modification will be filed no later than one year after the petition date.
Failure of the debtor to file the modification may be grounds for dismissal.

Dated:        July 24, 2017                                                 By:   /s/ Judith Jean Schneider
                                                                            Signature of Debtor

Dated:        July 24, 2017                                                 By:    /s/ Michael J. Watton, Esq., No.
                                                                            Counsel to     Debtor(s)
                                                                            46893
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